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United States District Court

SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION

CHANGE OF PLEA/ENTRY OF PLEA MINUTES

Casc No. CRIl7-034

United States of America

VS_ Bobby L. Christine, Jennifer Solari

REALITY LEIGH W[NNER i' 26

 

 

 

 

 

 

U. S. Attomey
Joe D. Whitley, John C. Bell, Jr.
Del`cndanb’Age Attomey for Defcndant
Plea agreement (Received). Dcfendant Swom |:| Counsel Waived.
E Plea agreement previously filed
l:l Arraigned and plead to count(s)
Plea of not guilty withdrawn and plea of G“ilty entered as to count(s)
One of the indictment FBl Sp. Agent .Iustin

 

Garrick

Facmal basis Established. orai. Plea Accepced Wimess forfacwal basis

 

Adjudicaiion ofguslr Made.

Referred to probation office for pre-sentence investigation Yes.

 

 

 

Sentencing Scheduled for a later date at
m Bond Continued Bond modified to
Bond set at

 

Bond not made defendant in jail.

Det`endant remanded to custody of United Statcs Marshal.

loo>- 104<0»~

I'[onorable J. Randal Hall, U. S. District Court Judgc Date June 26, 2018
Coun Reporter Lisa Davenport Probation Officer Chris Ingalls/Craig Dallas
Coum'oom Deputy Clcrk Lisa Widener U.S. Marshal Tim KeenfMike Brant

